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                         UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                                :
                                                        :
           v.                                           :       Criminal Case No.
                                                        :
 RICHARD BARNETT,                                           :    1:21-cr-0038 (CRC)
                                            :
                  Defendant                 :
                                           :
___________________________________________

                                   MOTION TO WITHDRAW

       Bradford L. Geyer, an attorney of record for Richard Barnett, the defendant in the

abovecaptioned case, hereby respectfully moves this Honorable Court for an order allowing him

to withdraw as an attorney of record, and submits the following in support:

       This is a permissive request and does not involve any mandatory issues surrounding

withdrawal of counsel. Undersigned counsel appeared in the case upon request to support Mr.

Barnett's trial preparation and trial and has at least two other cases going to trial, one of which is

scheduled to begin on March 25, 2022 and another that should be proceeding to trial in the next

two to three months.

       Undersigned counsel’s prior two trial assignments involved defendant entries from the East

whereas these new cases involve entry into the West side of the building requiring a great deal of

foundational work. Because of an inability to find counsel that could represent a prior client in a

January 6 civil matter brought by the District and also in the prior client’s appeal, I have taken

those matters on pro bono after working the two month trial last year for that client for very little

compensation that did not even cover costs.

       Mr. Barnett's case now involves sentencing. Mr. Barnett concurs with this request given




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that his review of the Presentencing Investigative Report, any objections to that report or to the

government's sentencing memorandum, and the writing of his sentencing memorandum will be

accomplished by Mr. Jonathan Gross with whom undersigned counsel remains in close contact.

        Undersigned counsel remains supportive of Mr. Barnett as a person and defendant, and he

knows he can call upon for a second legal opinion or to review his legal options. Undersigned

counsel respectfully submits that Mr. Barnett will not be prejudiced by this request.

        Undersigned Counsel has fully discussed this with Mr. Barnett the processes and matters

remaining for his case. He agrees that his sentencing, and any possible notice of appeal, may

proceed with Mr. Gross or new attorneys as he may choose to retain.

        WHEREFORE, in consideration of the foregoing reasons, and for such other reasons that

may appear just and proper, I request that this court issue an order permitting undersigned counsel

to withdraw as an attorney of record and, by doing so, relieve him of any further obligation to this

case.

        It was an honor and privilege to appear before this Court and it was a professionally

enriching and rewarding experience.




Dated: March 13, 2023                 RESPECTFULLY SUBMITTED, By Counsel

                                      /s/ Brad Geyer

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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 13, 2023, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District
of Columbia.

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                                               Respectfully submitted
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